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 6                               THE DISTRICT COURT OF GUAM

 7
     UNITED STATES OF AMERICA,                              CRIMINAL CASE NO. 15-00041
 8
                           Plaintiff,
 9
                   vs.                                  ORDER DISMISSING SUPERSEDING
10                                                               INDICTMENT
     JUSTIN ROBERT WHITE CRUZ,
11
                           Defendant.
12

13
            Upon motion from the Government, ECF No. 273, the Superseding Indictment in the
14
     above-captioned case is dismissed without prejudice.
15
            The status hearing for April 25, 2019 is vacated. Defendant Cruz is hereby ordered to be
16
     released from custody.
17
            SO ORDERED.
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20                                      /s/ Frances M. Tydingco-Gatewood
                                            Chief Judge
21                                      Dated: Apr 25, 2019

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